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                      Exhibit 33
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                                           D E C L A R A T I O N O F MAI IE R MASRI •




                     I, Maher Masri. declare under penalty of perjury under the laws of the United States of         .

              America that the following is true and correct,

                      1.     I currently serve as the Chairman of the Board of Directors of the Capital Market

              Authority within the Palestinian National Authority ("PA"), as well as Chairman of the Board of

              Directors of the Palestine Banking Corporation, From 1996 - 2 0 0 5 , 1 served as Minister of

              National Economy in the PA, and in that capacity 1 was, ex officio, Chairman of the Investment

              Promotion Agency, Chairman of the Industrial Zones Authority, and Chairman of the Standards

              and Measurements Institute. I am an economist by training having earned an MSc in Economics

              in 1973 from the American University in Beirut, Lebanon.       Prior t o serving as the Minister of

              National Economy, 1 w a s a businessman. A CV is attached for more detail.

                     2.      For nine months in 2004-2005,1 also served on the Board of the Palestinian

              Monetary Authority, a separate government agency responsible for, among other things,

              oversight of the banking industry in the Palestinian territories. Prior to that, and for a period of

              one year and a half (2002-2004), 1 served as an advisor to the President of the PA on issues

              concerning the Palestinian Monetary Authority, I am therefore fully familiar with Palestinian

              bank secrecy laws.

                     3.      I submit this Declaration in connection with Arab Bank's opposition, to plaintiffs'

              motion to compel discovery from Arab Bank, including documents and information protected

              from disclosure under Palestinian law. In particular, I have been asked to describe Palestinian

              law as it applies to Arab Bank with respect to the confidentiality of the Bank's customers'

              information.


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             The B a n k ' s C o n f i d e n t i a l i t y Obligations Under^PateslHiiaiiJ^aw

                     4.     In g e n e r a l Arab B a n k ' s branches in the Palestinian territories, like ail other banks

              located there, are subject to the regulatory authority of the Palestinian Monetary Authority.

              Plaintiffs have argued that the Arab Bank branches in the Palestinian territories are also subject

              to Israeli military authority.    I find this assertion by Plaintiffs erroneous. Since the

              establishment of the Palestinian Authority, licensing of banks has been granted by the PA's

              Ministry of Finance and later by the PMA.           No Israeli institution or authority performs any

              function with respect to licensing or authorizing the operations of any bank in the Palestinian

              territories including the Israel Central Bank or any military authority.          Additionally, military

              rules/orders do not apply in the Palestinian territories. In fact, prior to the advent of the PA,

              Israel closed all banks operating in the Palestinian territories and authorized branches of Israeli

              hanks to operate, all which are now closed.

                       5.    Palestinian law includes a statute that directly imposes on ail banks an obligation to

              maintain the confidentiality of their customers' account and transactional information. Banking

              Law Mo. 2 of 2002, at Article 26, provides that

                                All present and former directors and employees of the banks shall
                                keep confidential all information, and documents regarding then-
                                customers. The directors and employees of the hanks are
                                prohibited from informing third parties of any information or
                                permitting these third parties to have access to it unless: (A) The
                                customer waives the bank secrecy in writing, or (B) a judicial
                                decision has been rendered. Any person who violates the
                                provisions of this article will be punished pursuant to the sections
                                mentioned in this law.

               This provision covers "all information and documents" and thereby affords to bank customers

               broad protection from disclosure of their private affairs. The provision also applies to former

               bank customers because confidentiality is understood to survive even the termination of the

               bank-customer relationship.




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                    6.    The penalty Tor a violation of the confidentiality obligation of Article 26 of the

             Banking Law No, 2 is found in Article 52 of that law. Under that provision, one who violates the

             confidentiality obligation will be subject to a fine of between 5,000 and 100,000 Jordanian

             Dinars, or up to one year in prison, or a combination of both.penalties. Other penalties include

             the cancellation of the authorization to operate the bank or have the bank stricken from the

             P M A ' s records if the bank repeats violations of the provisions of the Banking Law (Article 56

             (9) of the Banking Law No. 2. Repeat violations of the provisions of the Banking Law (Article

             SB (1)(e) provides grounds for the cancellation of the bank's license. I understand these repeat

             offenses to include breach of the secrecy provisions.



                    7.    Preserving the secrecy of confidential bank information in fact predated this 2002

             Law, In 1998, the PMA issued Circular No. 27(a)/!998, which prohibited banks and ail bank

             staff from divulging secret in formation. The Circular set forth penalties for violations of bank

             secrecy, applying Article (355) of the Criminal Code of I960, which states that

                            A punishment of no more than three years in jail shall be imposed
                            for any the following: ( I ) if a person obtains secret information by
                            virtue of its employment or official position and divulged this
                            secrct information to he who has no right to have access thereto or
                            the nature of his j o b does not require it.

                     8.    By codifying bank secrecy principles into the Banking Law No. 2, the PMA wanted

             to give a definitive statement of the importance of bank secrecy and give assurance to customers

             of Palestinian banks that their right to privacy in their financial transactions would be honored.

              Without that assurance, potential customers of Palestinian banks might well choose to conduct

              their banking business in nations that provide for bank secrecy.

                     9.    Moreover, the concept of bank customer confidentiality, and generally the right to

              privacy, has been rooted in Palestinian culture for decades. There is a strong sense of privacy in

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              the Palestinian culture and that is reflected in a number of laws. Access to records, for example,

              must always be by the concerned person or his/her authorized representative. Another example

              is thai access to records of a c o m p a n y ' s register whose information is not in the public domain is

              limited to parties related lo that company and is otherwise denied to the public.

                      10.   Indeed, as a former elected member of the Palestinian Legislative Council

             (Palestinian Parliament, hereinafter, "PLC"), I participated in the deliberations and committee

              hearings on both the Palestinian Monetary Authority Law and later the Banking Law. I recall

             that the secrecy provisions, especially of the Banking Law, were strongly emphasized by the

             committee members and the PLC at large.

                     ] 1.   The strength of the secrecy provisions and their stature within the banking

             community is evident considering the absence of any precedent in the PA of imposition of

             cri r-ir.a! .le-alties or fines under Banking Law No.2.

             J^ijajUj^jConflde^                                      t o the Documents a n d I n f o r m a t i o n Sought
             by Plaintiffs

                     12.    In their Motion, plaintiffs argue thai the Bank's confidentiality obligations do not

             apply to documents which have otherwise been made available to the public, including by means

             of a website called www.intentgence.org.il. Under Palestinian law, however, Arab Bank's

             obligation to maintain the confidentiality of its customers' information is not lifted by the public

             dissemination of these documents by a third party. First o f a l i , such disclosure is not specified as

             an exception to a bank's obligations under Article 26 of the Banking Law No. 2. Additionally,

             information available publicly, believed to be sourccd from a given bank, cannot he confirmed or

             authenticated by the bank because the confirmation itself would be tantamount to a breach of the

             secrecy provisions of the Banking Law.




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                      13.     Palestinian court hearing any claim against Arab Bank for violation of Article 26

              would also take into account the manner in which the documents were made public. I

              understand that plaintiffs have not disclosed the source of these materials. It appears from the

              inteIligence.org.il website, however., that these documents were confiscated by Israeli military

              authorities In raids in the Palestinian territories of organizations other than Arab Bank. The

              Palestinian court would view such confiscation as illegal, and the public disclosure of documents

             through such illegal means would not accomplish any waiver of confidentiality. Arab Bank

             would thus continue to have its obligation not to disclose.

                     14.     Plaintiffs also argue in their motion that the documents are not subject to the

             Palestinian confidentiality restrictions because many appear to show transactions that were

             processed outside of the Palestinian territories. This argument is not consistent with Palestinian

             law. Most of the documents referenced in plaintiffs' Requests for Admissions appear to be

             transaction records of a type that would have been created by Arab Bank in the Palestinian

             territories. As an expert, I can attest that such materials are subject to the restrictions of Article

             26 of the Banking t a w No. 2 because they reference customer name, account number,

             transactions and amounts.

             •V^-BjmMLM..^                                       Permitted bv Palestinian Law and Procedure
            M See_ki>er^                                                                         ^    —          —
                    15.     1 understand that Arab Bank has sought a ruling from the Palestinian courts

            permitting it to disclose certain customer information pursuant to a production order from the

            court in New York issued in August 2005. Arab Bank provided the New York court order to the

            court in the Palestinian territories as the basis for its request for permission to disclose.

                    16.     The process that Arab Bank initiated was the appropriate process for it to follow

            under Palestinian law, Arab Bank applied to the Palestinian First Instance Court on an expedited




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